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E|am, rashaan, mechel|e, Sui juris FH,...ED RE US
C/O 1004 i\iorth West Street HARHBS§BUHG, PA
Apartment 5 (tracking number for mailed copy)
Carlis|e, Pennsylvania AUG 2 4 2018
(Z|P Exempt pursuant to DMM 602)
717-614-7786 Per ©Q(Q§

Deputy C|erk

NOTICE OF AFFIDAVIT OF FACTS TO RIGHT TO TRAVEL

l)Free people have a common law and constitutional ri ht to travel on_ the roads and highways
t at are provided by their alg((_)vernment for that purpose. icensirig of drivers cannot be required

pf free people because t ing on the restrictions of a license requires the surrender of an
inalienable right;

' (2) In England in 121 f5, the rti`\glht to travel was enshrined in Article 42 of Magna Carta: It shall be

lawful to any person, or the _ ture, to go out of our kin dom, a_nd to return, safely and securely,
by land or by water, saving his allegiance to u_s, unless 1 be in time of War, for some short space,
for the common ood of t e kingdor_n: excepting prisoners and outlaws, accordin to the laws of
the lan_<(i1 aréd of t e people of the nation at war against us, and Merchants who sha l be treated as
it rs sai a ove.

((33) Wh_ere rights secured by the Constitution of _the United States and the State of

_ eorgia are myolved, there_can be no rul_e making _or legislation that would abrogate these
ri§hts. The claim and_exercise of a constitutional right cannot be converted _mto a crime.

T ere can be no sanction or penalty imposed upon an individual cause of this exercise of
constitutional rights;

(4) American citizens have the inalienable right to _use the roads an_d highwa s unrestricted in any
manner so long as they are not damaging or _violat_ing property or rights_ of o hers. The
government, by re uiring the people to obtain_-dr_ivers l_icenses, is restricting, and therefore
violating, the peop e's common law and constitutional right to travel:

(53) ln Shapiro v Thom]]:)sor_i _ _ _ _ _

? _ 94 U.S. 618 §1969), ustice Potter Steyvart noted in a concurring opinion that the ri ht to travel
'is a_ri ht broa ly a_ssertable against Hrivate interference as well _as governmental ac ion. Like
the rig t of association...it is a_virtua y unconditional personal right guaranteed by the
Constitut_ion.to us all." _The Articles of Confederation had an ex licit right to trave ; and_we hold
that the ri ht to ~travel is so fundamental that the Framers thoug t.it Was unnecessary to include
it in the onstitution or the Bill of Rights,

(6) The_right to travel upon the public highways is not a mere privilege which may b_e ermi_tted
or prohibited at Will but the common right whrch ever_y -~_citizen has under his or her rig t to life
liberty, and the pursuit of happiness._ Under this constitutional g’luarante_e one may, therefore, _
under normal conditions, travel at his or her inclination along t e public highways or in public
glaces while conducting himself or herself in an orderly and

ecent manner; and

(7) T_hus, the legislature does not have t_he power to abrogate the citi_zens’ ri ht to travel up_on the
pirblic roadls by passing legislation forcing the citizen to waive the right an convert that right
in o a privi ege.

PENNSYLVANIA GUN LAWS

l. wShawn Gutshall (DBA CUMBERLAND COUNTY SHERIFFS’ DEPUTY CPL SHAWN

G SHALL) did fraudulentl and wrongfull cancel the RAS_HAAN ELAM TRUS_TS’ “License to
Carry” by misap_plllying Pa.C. . 18 §6109 (e) g/iii), When the misdemeanor §2? Violation of 18 Pa.C.S. (A)
§ 5104 , which e TRUST Was charged (and was later dismissed) under, a ls under Pa.C.S. 18 §6102
Definitions: "Crime punishable by im risonment exceeding pile ear." 'fhe term does .not include any
ofthe following (1) Federa| or Sta e offenses pertaining o antitrust, unfair trade

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practces, rest_tnraiso trade or |uation of bus…ie. b

  
 

c nistean at t e` ` icese” ann char quetnsio and as t _e “license” in question was
g wal and falls under Pa.C.S. §6106 xceptions (b) (12). This further means that OFFICER
KRUPKO’S charge is invalid.

2. The Sheriff’ s de artment did not roperly serve the revocation on the _RA_SHAAN
ECHELLE ELA ESTATE. The ‘ otice ’ was sent to an address,that is six years old. 'l_`he
Sheriffs’ department beyond any doubt (§they have been to m domicile on numerous occasions)

already knows where i ive. They faile to meet requiremen of Pa.C.S. 18 § 6109 (i).

(i) Revoc_ation.--A license to carr firearms may be revoked by the issuing authority for good
cause. A license to carry firearms s al_l be revoked ny the issurng\eut.horitg/ for any reason stated
in subsection (e?(l) which occurs during the term o t_he perm_it. otice o revocation shall be in
writ_m _a_nd sha l state _the specific reason for revocation Noti_ce shall be sent by certified mail to
the in ividu_al whose license is revoked, and, at _that time, notice shall al_so_be provided 'to the
Pennsylvania State Police b electronic means including e_-mail or facsimile transmission, that
the license is no longer vali _. An individual whose license is_ revoked shall surrender the license
to the issuing authority within five days of receipt of the notices An_ind_ividual whose license is
revoked may appeal to the cQurt of common_pleas for the judicial district in which the individual
resides. An individual who violates this section commits a summary offense.

Right to bear arms:
Pennsylvania Constitution of 1776:

XIII _That the people have a right to bear arms for the defence of themselves and the state; and as
standing armies in the time of peace are dangerous_to lrberty, they ought not to be kept up; And
that the military should be kep under strict subordination to, an governed by, the civil power.

UN International Covenant on Civil and Political Rights
The United States has signed on to this and the following apply:

PART l

Article l

(}?;.)_ All peoples have the right of self-determination By virtue of that ri ht they freely determine
t eir political status and freely pursue their economic, social and cultura development

Part ll

Article II

flag Each State Party to the present Covenant undertakes to respect and to en_sure _to all

in ividuals within its_ territory and subject to its Jurisdiction the rights recognized _in_ the present
Covenant, without drstmction of any kind, such as race, colour, sex, language, religion, political
or other opinion, national or social origin, property, birth or other status.

(}21.) Where not already provided for by existing legislative or other measures, each State_Party to
t e present Covenant undertakes to take the necessary ste s. in accordance with i_ts constitutional
processes and with the provisions of the ftpresent Covenan , to adopt such legislative or other
measures as may be necessary to give e ect to the rights recognized in the present Covenant.

(3) Each State Party to the present Covenant undertakes:

l. To ensure that any person whose ri hts or freedoms as_ herein recognized _are violated shall
have an effective_remedy, _notwithstan ing that the violation has been committed by Ipersons
a_cting in an official c_apacity; to ensure t_hat_any perso_n_clairning such_a remedy shal_ have his
rights thereto determined by competent Judicial, administrative or legislative authorities or by
any other.com etent_authorit(y provided for by the legal system of the State, and to develop the
possibilities o rudicial reme ;

2. To ensure that the competent authorities shall enforce such remedies when granted.

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OAS Declaration of the Rights and Duties of Man

Ri _ht to nationality . _ _ _ _ _
icle XIX. Every person has the right te the nationality to which he 1_s entitled by law and to
ehange it, if he so wishes, for the nationality of any other country that is willing to grant it to
im.

Rig_ht of association _ _ _ s _

A_rticle_ X)GI. Every erson has_ t_he right to associate_with others to promote, exercise and protect
his_ legitimate interes s of a political, economic, religious, social, cu tural, professional, labor
union or other nature.

i, Elam, rashaan, mechelle choose b m ri hts to not associate with the satanic fraudulent
corporation of the UNIT_Ef) S”l`ATlF_l O RICA/ _U.S. or any of its agencies a_nd declare my
nationalit to the republic as established under the Articles of Confederation, specifically the
Republic tate of Pennsylvania.

UN Declaration of Rights of Indigenous People

En Total, i, Elam, rashaan, elam, am an indigenous people of Pennsylvania and not a 14th Amendment
Citizen of Washington DC or or its territories and Enclaves.

Take notice:
Pennsylvania Constitution 1776: [httns://WWW.loc.gov/laW/heln/statutes-at-large/41st-

congress/session-S/c41s3ch62.pdf|

Federal Rules for Self Authentication: Federal Rules of Evidence 902:
[https://www.law.cornell.edu/rules/fre/rule 902]

PA.C.S. Ttitle 18, Cpater 61 § 6109:
[htt ://Www.le is.state. a.us/WUOl/LI/LI/CT/HTM/l8/00.061.009.000`..HTM

 

UN International Covenant on Civil and Political Rights
[httn://www.hrweb.org[legal/cnr.html]

[http://www.hrweb.org[!egal/cgrsigs.html]

OAS Declaration of' the Rights and Duties of a Man
[http://WWW.hrcr.org/docs/OAS Declaration/oasrights4.html]

 

UN Declaration of Rights of Indigenous People
[http://WWW.un.org/esa/socdev/unpfii/documents/DRIPS_en.pdf]

i declare under penalty of perjury under the law of the Commonwealth of Pennsylvania
and 28 U.S. Code § 1746 ~ (1) that the foregoing is true and correct to the best of my knowledge,
and that i am physically located outside the geographic boundaries of the United States, Puerto

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Rico, the Virgin Islands and any territory or insular possession subject to the jurisdiction of the
United States.

Executed on theQ_£/_)d‘ay of M ZOL// At 0 2 .S § fmc ,(date) @W,
(month) 42 H‘ 5 MZ , 20 _M, (on the land of city/town) §§é¢§ ,(county of)

aaa.,aa <coumryaaaaaaaa

 

Elam, rashaan, mechelle, Without Prejudice, All Rights Reserved, UCC l- 308, U/T/A

ACKNOWLEDGEMENT OFNOTARY

Cumberland Cou.nty ) 1 For verification purposes only
) Scilicet _
Pennsylvania state )

SUBSCRIBED TO AND SWORN before me this M_ , day of eighth month, 2018, a Notary, that ,
Elam, rashaan mechelle personally known to me (or proved to me on the basis of satisfactory
evidence of identification) to be a person whose name is subscribed to the within instrument(s) and
acknowledged to me that he/she/they executed the same in his/her/their authorized capacity, and that
by his/her/their signature on the instrument the person or the entity upon behalf of which the person
acted, executed that instrument personally appeared and known to me to be the woman whose name
subscribed to the within instrument and acknowledged to be the same.

COMMONWEALTH OF PENNSYLVAN\A
NOTAR\AL SEAL P ble
Wend L. S'ikes Noiary u i
Shippensbi\'irg Boro Cun‘iber\arid Courgy
le Comm`ission Expires June 3 201 `
MEMBER. P_ENNS¥LVAN\A ASSOC\ATlON OF NO'IA_ B_.l.'~

Witnessed, my hand and ojj‘icial seal.

   
 
     

  

     

My Commission expires: d %~L

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